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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELA WARE

   BIODELIVERY SCIENCES
   INTERNATIONAL, INC. and
   ARIUS TWO, INC.,

                              Plaintiffs,

                     v.                          Civil Action No. 19-444-CFC-CJB

   CHEMO RESEARCH, S.L.,
   INSUD PHARMA S.L.,
   INTELGENX CORP., and
   INTELGENX TECHNOLOGIES
   CORP.,

                            Defendants.


                                        ORDER

        The Court has reviewed the parties' joint status report (D.I. 508). In light of

  Chemo's track record of predicting before the Court FDA approvals that never

  transpired, see, e.g., D.I. 187 at 40:4-13; D.I. 465-1 at 50, the Court gives no

  credence to Chemo's representation that FDA approval of its ANDA products "is

  expected by April 28, 2023" and "is likely," see D.I. 508 at 3. Accordingly, the

  Court will not agree to Chemo' s request to schedule a trial this spring.

        Now therefore, at Wilmington on this Eighth day of February in 2023, it is

  HEREBY ORDERED that Chemo's request for a trial date is DENIED and that the
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  parties shall update the Court at such time as the FDA addresses Chemo's July 29,

  2022 response to the FDA.




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                                                            .       C       JUDGE




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